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 6    United States of America

 7
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                         EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,      )         CASE NO.   1:10-cr-00090 AWI
                                    )
12                  Plaintiff,      )         STIPULATION TO CONTINUE
                                    )         SENTENCING HEARING; ORDER
13        v.                        )         THEREON
                                    )
14   DUSTIE DENISE LEVINE ,         )         DATE: April 11, 2011
                                    )         TIME: 9:00 a.m.
15                  Defendant.      )         CTRM: Hon. Anthony W. Ishii
                                    )
16   ______________________________ )

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18        IT IS HEREBY STIPULATED by and between the parties hereto that

19   the hearing on the sentencing in the above-entitled matter, as to

20   defendant DUSTIE DENISE LEVINE only, previously set for January 3,

21   2011, be continued until April 11, 2011, at 9:00 a.m.

22        The reason for this continuance is to allow counsel for the

23   defendant and the government time for further preparation.            Ms.

24   Levine’s plea agreement contains a cooperation agreement which

25   needs to be completed before she can be sentenced.         The plea

26   agreement is contingent on her co-defendant’s case which is

27   currently set for a status conference on January 10, 2011.            It is

28   both parties estimate, at this time, that a hearing on

                                          1
       Case 1:10-cr-00090-AWI Document 55 Filed 12/23/10 Page 2 of 2



 1   April 4, 2011 would allow the necessary time to comply with the

 2   plea agreement and be prepared for the sentencing hearing.

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 4                                     BENJAMIN B. WAGNER
                                       United States Attorney
 5

 6   DATED: December 23, 2010 By:         /s/Mark J. McKeon
                                       MARK J. McKEON
 7                                     Assistant U.S. Attorney

 8   DATED: December 23, 2010             /s/ Joseph Altshule
                                       JOSEPH ALTSHULE
 9                                     Attorney for Defendant

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11                                     ORDER
12   IT IS SO ORDERED.
13
     Dated:         December 23, 2010
14   0m8i78              CHIEF UNITED STATES DISTRICT JUDGE
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